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10/01/2021 08:10 AM CDT




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                               Nebraska Supreme Court Advance Sheets
                                        310 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. YOUNG
                                               Cite as 310 Neb. 18



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                              v. David James Young, respondent.
                                                   ___ N.W.2d ___

                                        Filed August 20, 2021.   No. S-21-471.

                    Original action. Judgment of disbarment.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                       INTRODUCTION
                  This case is before the court on the voluntary surrender of
               license filed by the respondent, David James Young, on June 9,
               2021. The court accepts the respondent’s voluntary surrender
               of his license and enters a judgment of disbarment.
                                  STATEMENT OF FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on September 15, 2010. On June 9, 2021, the
               respondent filed a voluntary surrender of his license to practice
               law. He stated that on January 18, 2013, he was suspended
               from the practice of law, retroactive to the date of his tempo-
               rary suspension, December 14, 2011, for violations of Neb. Ct.
               R. of Prof. Cond. §§ 3-501.8 (conflict of interest), 3-501.15
               (safekeeping property), and 3-508.4 (misconduct). He has not
               been reinstated to practice law in Nebraska. The respondent
               admits that he engaged in the unauthorized practice of law
               when he agreed to represent a client on April 15, 2019. He
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         Nebraska Supreme Court Advance Sheets
                  310 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. YOUNG
                        Cite as 310 Neb. 18
admits that he was paid $13,000 by the client for the represen-
tation and that he held himself out as counsel for the client. He
was convicted of the following in the district court for Douglas
County: (1) theft by deception ($5,000 or more), (2) terroristic
threats, and (3) theft by deception ($5,000 or more). Young
was initially sentenced to 36 months of probation for the first
offense, but on May 10, 2021, his probation was revoked. He
was then sentenced to serve a period of incarceration of 18
to 24 months for the first offense. He was sentenced to serve
a period of incarceration of 30 to 36 months for the second
offense. Finally, for the third offense, he was sentenced to a
period of incarceration of 3 to 5 years. The sentences are to be
served consecutively.
   The respondent admits that his conduct has violated Neb.
Ct. R. of Prof. Cond. §§ 3-505.5(b) (rev. 2012) (unauthorized
practice of law) and 3-508.4(a), (b), and (c) (rev. 2016) (mis-
conduct) and his oath of office as an attorney, Neb. Rev. Stat.
§ 7-104 (Reissue 2012).
   The respondent stated that he freely and voluntarily sur-
renders his privilege to practice law in the State of Nebraska;
waives his right to notice, appearance, or hearing prior to the
entry of an order of disbarment; and consents to the entry of
an immediate order of disbarment.
                          ANALYSIS
  Neb. Ct. R. § 3-315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
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         Nebraska Supreme Court Advance Sheets
                  310 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. YOUNG
                        Cite as 310 Neb. 18
Pursuant to § 3-315 of the disciplinary rules, we find that the
respondent has voluntarily surrendered his license to practice
law and, for purposes of his license to practice law, knowingly
does not challenge or contest the truth of the allegations made
against him in the district court for Douglas County. Further,
the respondent has waived all proceedings against him in con-
nection therewith. We further find that the respondent has
­consented to the entry of an order of disbarment.
                        CONCLUSION
   Upon due consideration, the court accepts the respondent’s
voluntary surrender of his license to practice law, finds that
the respondent should be disbarred, and hereby orders him dis-
barred from the practice of law in the State of Nebraska, effec-
tive immediately. The respondent shall forthwith comply with
all terms of Neb. Ct. R. § 3-316 (rev. 2014) of the disciplinary
rules, and upon failure to do so, he shall be subject to punish-
ment for contempt of this court. Accordingly, the respondent
is directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and Neb. Ct.
R. §§ 3-310(P) (rev. 2019) and 3-323 of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                   Judgment of disbarment.
